Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19       PageID.1   Page 1 of 12



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
LEON CARLOCK,
      Plaintiff,                                  Case No. 2:19-cv-11969
                                                  Hon.
v.
WAYNE STATE UNIVERSITY,
and M. ROY WILSON, in his individual
and official capacities,

      Defendants.
__________________________________________________________________
David A. Nacht (P47034)
Adam M. Taub (P78334)
NACHTLAW, P.C.
Attorneys for Plaintiff
101 N. Main Street, Ste. 555
Ann Arbor, MI 48104
(734) 663-7550
dnacht@nachtlaw.com
ataub@nachtlaw.com
__________________________________________________________________
                     COMPLAINT AND JURY DEMAND

      Plaintiff, Leon Carlock, by and through his attorneys, NACHTLAW, P.C.,

hereby alleges as follows:

                             PARTIES AND JURISDICTION

      1.     Plaintiff Leon Carlock was, at relevant times, a tenured Professor at

Wayne State University (“WSU”) School of Medicine and resides in the State of

                                        1
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19          PageID.2    Page 2 of 12



Michigan within the Eastern District of Michigan.

      2.     WSU is a public entity created under the Constitution of the State of

Michigan.

      3.     Defendant M. Roy Wilson is President of Defendant WSU. The

President is appointed by Defendant WSU.

      4.     This Court has general federal question jurisdiction pursuant to 28

U.S.C. § 1331, because Plaintiff brings his claims pursuant to the Civil Rights Act,

42 U.S.C. § 1983.

      5.     This Court has supplemental jurisdiction of Plaintiff’s state law claim

pursuant to 28 U.S.C.A. § 1367.

      6.     The events at issue occurred in Detroit, Michigan, which lies in Wayne

County and the Eastern District of Michigan.

      7.     Venue is proper in this Court because Defendants obligated themselves

to Plaintiff within the Eastern District of Michigan, the University is located within

the Eastern District of Michigan, Plaintiff resides within the Eastern District of

Michigan, and, upon information and belief, Defendants reside within the Eastern

District of Michigan.

                            GENERAL ALLEGATIONS

      8.     Plaintiff became employed by Defendant WSU on or about 1987 as an

Assistant Professor in the Department of Molecular Biology and Genetics at


                                          2
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19             PageID.3    Page 3 of 12



Defendant WSU’s School of Michigan.

      9.       In or about 1995, Plaintiff was granted tenure and, since that time, until

his termination, was been a tenured Professor at WSU’s School of Medicine.

      10.      Defendant WSU has created and maintains the Wayne State University

Code Annotated (“WSUCA”) which provide Professors, such as Plaintiff, specific

tenure and job protections. Those protections include that “Tenure may be

terminated by the University only for one of the following reasons: (a) adequate

cause after opportunity for a fair hearing as provided in section 2.51.01.190 titled

Dismissal Proceedings – Faculty with Tenure”. WUSCA § 2.541.01.040.

      11.      Among other protections, the WSUCA provides that, prior to

termination of employment, Professors such as Plaintiff are to be provided certain

hearings and procedures, as follows:

            a. after initiation of dismissal proceedings, the President shall notify the
               faculty “in writing of the proposed dismissal and of the reasons therefor
               with sufficient particularity to give the [faculty] an adequate
               opportunity to answer the charges and recommendation”. WSUCA
               2.51.01.210;

            b. if faculty requests a hearing, he or she is provided a hearing before a
               seven-member Hearing Committee chaired by “a retired federal, state,
               or administrative law judge”, WSUCA § 2.51.01.230;

            c. in person testimony subject to cross-examination is taken during the
               hearing, WSUCA § 2.51.01.230;

            d. faculty is entitled to assistance in securing attendance of University
               witnesses on his behalf at the hearing, WSUCA § 2.51.01.230; and

            e. if the matter is referred to the Board of Governors, faculty have the right
                                             3
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19             PageID.4    Page 4 of 12



                to be heard by the Board prior to any final decision regarding dismissal.
                WSUCA § 2.51.01.270.

       12.      The WSUCA provides that the President does not have the authority to

terminate a Professor prior to initiation and completion of the foregoing process.

       13.      The WSUCA provides certain “Emergency Suspension” powers to the

President, WSUCA § 2.51.01.300. However, the President’s exercise of such powers

is limited:

             a. the continued employment of faculty must “threaten grave and
                immediate injury to the University or its students, faculty, or staff;

             b. the suspension is limited to a maximum of 120 days and shall not affect
                the individual’s compensation;

             c. If the suspension is to continue beyond 120 days, there must be an
                investigation and the faculty must be given an opportunity to testify.
                WSUCA §2.51.01.310.

       14.      On or about December 18, 2018, Jack Soble, Dean of the Wayne State

School of Medicine, in a letter to Defendant Wilson initiated dismissal proceedings

against Plaintiff, referencing WSUCA § 2.51.01.190.

       15.      On or about December 20, 2018, Defendant Wilson terminated Plaintiff

by letter, stating: “Your termination will be effective immediately”, again

referencing WSUCA § 2.51.01.190.

       16.      Plaintiff was given no prior notice that Defendant Wilson was

considering the specific sanctions levied against him.

       17.      Defendant Wilson failed to provide Plaintiff an opportunity to respond,


                                             4
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19             PageID.5   Page 5 of 12



in-person or in writing, to the allegations in the letter prior to terminating him.

      18.    Defendant Wilson failed to provide Plaintiff notice of the University

policy Plaintiff allegedly violated prior to terminating him.

      19.    Defendant Wilson failed to provide Plaintiff any opportunity for a

hearing or process prior to terminating him.

      20.    Defendant Wilson failed and refused to provide Plaintiff the process

and protections afforded Plaintiff by the Constitution and the WSUCA before

terminating him.

      21.    Defendants’ unlawful actions have caused Plaintiff to be terminated

from his employment, denied him tenure protections, and denied him the protections

of the WSUCA.

      22.    Defendants’ publicly-known unlawful actions have stigmatized

Plaintiff, leading to loss of his reputation, good name, honor, and integrity.

                                COUNT I
                   DENIAL OF PROCEDURAL DUE PROCESS
     (against Defendant Wilson in his Individual and Official Capacities)

      23.    Plaintiff incorporates all preceding paragraphs above as though fully

stated herein.

      24.    At all times relevant hereto, as a tenured professor, Plaintiff had a

clearly established property right in the terms and conditions of his employment,

including tenure, under the 14th Amendment of the U.S. Constitution.


                                           5
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19            PageID.6    Page 6 of 12



      25.    Defendant, acting in his individual and official capacities, at all relevant

times herein, deprived Plaintiff of his clearly established constitutional property

right to terms and conditions of his employment by terminating him before providing

notice and the opportunity to be heard and otherwise as alleged above.

      26.    Defendant, acting in his individual and official capacities, at all relevant

times herein, stigmatized Plaintiff in his reputation, good name, honor, and integrity

by terminating him before providing notice and the opportunity to be heard and

otherwise as alleged above.

      27.    Defendant’s publicly-known unlawful actions have stigmatized

Plaintiff, leading to loss of his reputation, good name, honor, and integrity.

      28.    Defendant deprived Plaintiff of his constitutional property right to

continued terms and conditions of employment, as Plaintiff did not have adequate

notice of the charges against him, adequate notice of the evidence used against him,

a pre-termination hearing, or the ability to cross-examine his accusers.

      29.    Defendant failed to follow the University’s own procedures in

terminating Plaintiff.

      30.    At all relevant times, Defendant was acting under color of state law.

      31.    At all relevant times, Defendant, in his individual and official

capacities, was executing official WSU policy by making edicts or acts depriving

Plaintiff of his constitutional rights, by representing the official policy of WSU, and


                                           6
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19         PageID.7    Page 7 of 12



by terminating him in contravention of the Constitution and WSU policy regarding

terminations.

      32.    Accordingly, Defendant is liable to Plaintiff pursuant to 42 USC § 1983

for his deprivation of Plaintiff’s constitutional rights, and damaging him as alleged

herein and below.

                                  COUNT II
                             BREACH OF CONTRACT
                    (against Defendant Wayne State University)

      33.    Plaintiff incorporates all preceding paragraphs above as though fully

stated herein.

      34.    Defendant at all times material hereto, maintained written policies and

codes, titled the “Wayne State University Code Annotated”, requiring adequate

cause for tenure and employment termination of Professors, including Plaintiff, and

a practice of not terminating tenure and/or employment without good or just cause.

      35.    Defendant’s policies and codes also required specific procedures and

processes prior to termination of tenure or employment, as set forth herein.

Accordingly, after dismissal proceedings are initiated, Defendant is contractually

obligated retain a Professor in his or her employment while such procedures and

processes are ongoing.

      36.    Defendant’s policies and procedures also require that a Professor’s

compensation shall not be affected during a suspension or investigation, as set forth


                                         7
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19          PageID.8   Page 8 of 12



herein.

       37.   Plaintiff received a copy of the aforementioned policies and codes

during his employment with Defendant.

       38.   Throughout the course of his employment with Defendant, Plaintiff

relied on the policies and codes of Defendant, which provided that employees in

Plaintiff’s position would not be terminated from employment without adequate

cause and only after an opportunity for a fair hearing and that employees in

Plaintiff’s position would be retained in their employment, and their compensation

continued, during the pendency of dismissal proceedings.

       39.   The aforementioned policies, practices, and procedures constituted a

contract of employment between Plaintiff and Defendant and created contractual or

quasi-contractual rights to a hearing prior to termination for adequate cause.

       40.   Defendant’s policies, procedures, and practices created a reasonable

expectation of continued employment in Plaintiff and other employees of Defendant.

       41.   Contrary to Defendant’s policies, practices, and procedures, Plaintiff

was terminated without an opportunity for fair hearing and was terminated without

adequate cause.

       42.   Contrary to Defendant’s policies, Plaintiff was not retained in his

employment or compensated during the pendency of dismissal proceedings against

him.


                                          8
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19           PageID.9   Page 9 of 12



      43.      As a direct and proximate result of Defendant’s wrongdoing and breach

of contract, Plaintiff has sustained loss of earnings and earning capacity, past and

future lost earnings, the value of fringe and pension benefits, loss of job and career

opportunities, damage to his good name and reputation in the community, mental

and emotional distress, humiliation and embarrassment, loss of the enjoyment of the

ordinary pleasures of everyday life, and loss of the ability to pursue employment of

choice.

                               RELIEF REQUESTED

      For all of the foregoing reasons, Plaintiff Leon Carlock demands judgment

against Defendants as follows:

          a.   Declare the practices and actions of Defendants as unconstitutional and
               a breach of contract;

          b.   Compensatory damages for monetary and non-monetary loss in
               whatever amount he is found to be entitled;

          c.   Exemplary damages in whatever amount he is found to be entitled;

          d.   A judgment for lost wages and benefits, past and future, in whatever
               amount he is found to be entitled;

          e.   An order of this Court reversing the termination of Plaintiff by
               Defendants;

          f.   An injunction of this Court prohibiting any further acts by Defendants
               violating Plaintiff’s constitutional and/or contractual rights;

          g.   An award of interest, costs and reasonable attorney fees; and

          h.   Whatever other relief this Court finds appropriate.
                                           9
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19    PageID.10    Page 10 of 12



                                          Respectfully Submitted,
                                          NACHTLAW, P.C.

                                          /s/ David A. Nacht
                                          David A. Nacht (P47034)
                                          Adam M. Taub (P78334)
                                          Attorneys for Plaintiff
                                          101 N. Main Street, Suite 555
                                          Ann Arbor, MI 48104
                                          (734) 663-7550
   Dated: July 2, 2019




                                     10
Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19     PageID.11   Page 11 of 12




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
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LEON CARLOCK,
       Plaintiff,                                Case No. 2:19-cv-11969
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David A. Nacht (P47034)
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NACHTLAW, P.C.
Attorneys for Plaintiff
101 N. Main Street, Ste. 555
Ann Arbor, MI 48104
(734) 663-7550
dnacht@nachtlaw.com
ataub@nachtlaw.com
__________________________________________________________________
                             DEMAND FOR TRIAL BY JURY

       NOW COMES Plaintiff, Leon Carlock, by and through his attorneys,

NachtLaw, P.C. and hereby demands for a jury trial in the above-captioned matter

for all issues so triable.




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Case 2:19-cv-11969-MAG-RSW ECF No. 1 filed 07/02/19     PageID.12   Page 12 of 12



                                   Respectfully Submitted,
                                   NACHTLAW, P.C.


                                   /s/ David A. Nacht
                                   David A. Nacht (P47034)
                                   Attorney for Plaintiff Pamela Smock
                                   101 N. Main Street, Suite 555
                                   Ann Arbor, MI 48104
                                   (734) 663-7550
Dated: July 2, 2019




                                     2
